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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

TINA CARR and YVETTE COLON,

                   Plaintiffs,                             19 Civ. 6597 (PKC)

                       - against -

ELISABETH DEVOS, in her official capacity as
Secretary of the United States Department of
Education,

                   Defendant.


                            DECLARATION OF CRISTIN BULMAN

       Cristin Bulman declares as follows pursuant to 28 U.S.C. § 1746:

       1.      I am employed as a Loan Analyst by the Department of Education (the

“Department”), in the Processing Group, Operation Services, Business Operations, Office of

Federal Student Aid.

       2.      As a Loan Analyst, my responsibilities are to assist United States Attorney

Offices with both Federal District and Bankruptcy Court litigation involving student loans. The

litigation support provided includes, but is not limited to, the following: providing information

on the individual’s loan history (including repayment history and forbearance/deferment history)

and loan programs, preparing responses to discovery requests, providing responses to

interrogatories and requests for production of documents, providing information regarding

repayment options available to borrowers, providing testimony either in person or by submission

of a declaration/affidavit, and facilitating settlement.

       3.      In order to fulfill my responsibilities, I have become familiar with the various

types of loans authorized by Title IV of the Higher Education Act (“HEA”) of 1965, as amended,
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and made by banks, by institutions of higher education, and by the Department, and now held

and collected by the Department. I am familiar with (a) how the Department receives

information and creates and maintains records related to those loans, (b) the various repayment

plans and deferment/forbearance options available to Title IV borrowers, and (c) the

administrative discharge options offered pursuant to the HEA.

       4.      I have access to electronic records maintained in the Department’s Debt

Management and Collection System (“DMCS”), 1 a computer database which contains

information on all defaulted student loan accounts held by the Department. The Department’s

DMCS database contains records of payment transactions, collection actions, and telephonic and

written contacts between borrowers and the Department’s staff or the staff of the Department’s

contractors. These records are created pursuant to the Department’s procedures by the

Department’s staff and by staff of contractors retained by the Department to collect these loans,

in the regular course of their duties at the time of the transaction or event recorded. The records

contained in DMCS are made at or near the time of the transaction recorded, by or from

information transmitted by a person with knowledge of the transaction, and are kept in the course

of the Department’s regularly conducted business of administration of the several loan programs

under which these loans are made, pursuant to the Department’s regular practice of making and

keeping such records.

       5.      I also have access to the National Student Loan Database System (“NSLDS”), a

larger computer database that includes information on all outstanding loans made pursuant to

Title IV of the HEA, as well as a large body of loans made and paid off before inception of the


1
  DMCS underwent a major upgrade in September 2011; the records from the DMCS system
prior to conversion are called Legacy records. Records from both systems are available and
referenced herein.


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NSLDS in 1994. The NSLDS includes a limited amount of information on loans not held by the

Department, including loans not in repayment status. This information is derived from regular

reports to the Department from the holders of the loans, including the Department itself, based

on the holder’s regularly maintained records on these loans. The most accurate information

regarding a loan, however, comes from the current holder of the loan.

       6.      As a Loan Analyst, I am also familiar with, and have access to, various other loan

records maintained by the Department and created by the Department and prior holders

regarding defaulted, federally financed student loans that the Department holds. In addition to

the electronic records already described, these loan records include documents such as the

application and promissory notes, guaranty claims, correspondence, payment records, and other

records that evidence transactions between the borrower and the holders of his or her loan,

including the Department and the original lender, and, for guaranteed loans, the loan guarantor,

servicer, and secondary market.

       7.      The information contained in this declaration is based upon my review of the

computer records contained in the COD system, DMCS system, NSLDS, and of imaged and hard

copy records kept by the Department and any prior holder of the loan(s), taken out by Plaintiff

Tina Carr (a/k/a Anthony J. Tricarichi) (SSN XXX-XX-9779) (“Carr”) and Plaintiff Yvette

Colon (SSN XXX-XX-5792) (“Colon”), and documents submitted by Plaintiffs in this lawsuit,

as well as on my knowledge of the student financial assistance programs authorized pursuant to

Title IV of the HEA, and the laws and regulations governing those programs, including laws

related to the collection of student loan debts.

       8.      Plaintiff Carr has taken out a total of seven (7) loans made pursuant to the

William D. Ford Federal Direct Loan Program. These loans are described below.



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  a. Plaintiff Carr initiated a William D. Ford Federal Direct Stafford (“Direct

     Stafford”) Loan Master Promissory Note and signed on February 3, 2011.

  b. On or about September 20, 2011, Plaintiff Carr received a Direct Stafford

     subsidized loan in the amount of $3,008.00 for her attendance at the SBI Campus-

     An Affiliate of Sanford-Brown.

  c. On or about June 02, 2011, Plaintiff Carr received a Direct Stafford subsidized

     loan in the amount of $3,500.00 for her attendance at the SBI Campus-An

     Affiliate of Sanford-Brown.

  d. On or about March 26, 2012, Plaintiff Carr received a Direct Stafford subsidized

     loan in the amount of $3,500.00 for her attendance at the SBI Campus-An

     Affiliate of Sanford-Brown.

  e. On or about January 17, 2012, Plaintiff Carr received a Direct Stafford

     unsubsidized loan in the amount of $2,206.00 for her attendance at the SBI

     Campus-An Affiliate of Sanford-Brown.

  f. On or about March 26, 2012, Plaintiff Carr received a Direct Stafford subsidized

     loan in the amount of $1,000.00 for her attendance at the SBI Campus-An

     Affiliate of Sanford-Brown.

  g. On or about September 05, 2012, Plaintiff Carr received a Direct Stafford

     subsidized loan in the amount of $1,362.00 for her attendance at the SBI Campus-

     An Affiliate of Sanford-Brown.

  h. The Department’s records indicate that Plaintiff Carr graduated from the school

     on October 19, 2012. Plaintiff Carr’s loans entered repayment status on or about

     April 20, 2013.



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            i. Plaintiff Carr defaulted on these obligations, which were assigned to the

               Department’s defaulted loan portfolio on July 14, 2014. The Department obtained

               no involuntary payments from Plaintiff Carr (e.g., treasury offsets, wage

               garnishments).

            j. During the pendency of this action, Plaintiff Carr’s loans were modified by the

               Secretary pursuant to 20 U.S.C. § 1082(a)(4), resulting in balances of $0.00 and

               thus no money owed by Plaintiff Carr.

            k. As of the date of this declaration, the total amount owed on Plaintiff Carr’s loans

               is $0.00, which includes $0.00 in principal and $0.00 in interest.

       9.      Plaintiff Colon has taken out a total of five (4) loans made pursuant to the Federal

Family Education Loan Program. These loans are described below.

            a. Plaintiff Colon initiated a Federal Family Education Loan (“FFEL”) Program

               Master Promissory Note and signed on July 08, 2006.

            b. On or about April 20, 2007, Plaintiff Colon received a FFEL Stafford subsidized

               loan in the amount of $2,625.00 for her attendance at the Sanford-Brown College.

            c. On or about April 20, 2007, Plaintiff Colon received a FFEL Stafford

               unsubsidized loan in the amount of $2,000.00 for her attendance at the Sanford-

               Brown College.

            d. On or about May 19, 2008, Plaintiff Colon received a FFEL Stafford unsubsidized

               loan in the amount of $3,865.00 for her attendance at the Sanford-Brown College.

            e. On or about May 19, 2008, Plaintiff Colon received a FFEL Stafford subsidized

               loan in the amount of $4,348.00 for her attendance at the Sanford-Brown College.




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          f. The Department’s records indicate that Plaintiff Colon graduated from the school

              on April 28, 2008. Colon’s loans entered repayment status on or about October

              30, 2008.

          g. Plaintiff Colon’s loans were guaranteed by Educational Credit Management

              Corporation (“ECMC”). During the pendency of this action, ECMC modified the

              loans at the request of the Secretary, resulting in balances of $0.00 and thus no

              money owed by Plaintiff Colon.

          h. As of the date of this declaration, the total amount owed on Plaintiff Colon’s

              loans is $0.00, which includes $0.00 in principal and $0.00 in interest.

   10. The Department does not consider modification of the Loans to be an “identifiable event”

      under 26 C.F.R. § 1.6050P-1(b)(2)(i).

   11. Within 60 days of this declaration, the Department shall request that the Credit Bureaus

      delete all credit history associated with the Loans.

   12. The Secretary will take no further action with respect to the $0.00 balances of the Loans.

      I declare under penalty of perjury that the foregoing is true and correct.

Dated: San Francisco, CA
       October 2, 2019

                                                    CRISTIN CAITLIN BULMAN




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